IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

Karen McNeil, et al.,                      │
                                           │
v.                                         │    Case No. 1:18-cv-33
                                           │
Community Probation Services, LLC, et al., │
________________________________________________________________________________

    PSI Defendants’ Reply to Plaintiffs’ Second Response to Their Motion for Summary
                                          Judgment
________________________________________________________________________________

       The PSI defendants’ motion for summary judgment was originally filed on August 14, 2019.

(Doc. Nos. 300–303). The plaintiffs filed a complete response on October 21, 2019. (Doc. Nos.

326–337). Their response included a “Counter Statement of Undisputed Material Facts.” (Doc. No.

327). The PSI defendants replied on November 4, 2019 (Doc. No. 343) and also objected to the

“Counter Statement of Undisputed Material Facts,” very clearly explaining that a party responding

to a motion for summary judgment is not allowed to file their own statement of undisputed facts

under this Court’s rules. (Doc. No. 344, p. 1). When these defendants renewed the motion for

summary judgment on May 14, 2020, they simply incorporated their prior pleadings and added

nothing new or different to their motion in any way. (Doc. No. 363). As such, there was no need

for the plaintiffs to file an additional response, but they filed a second 56-page response anyway on

July 28, 2020. (Doc. No. 388). These defendants now reply, again.

       The plaintiffs’ second response is entirely repetitive. It contains no new arguments or

relevant facts. Its only purpose is to further the plaintiffs' clear strategy of burying this Court in

mountains of paper in order to try to make the PSI Defendants’ motion seem really complicated,

when it is not. They also dump repetitive paper on this Court in the hopes that there will simply be

too much to read, given the amount of time a Court can practically spend on one motion in one case.




   Case 1:18-cv-00033 Document 392 Filed 08/03/20 Page 1 of 4 PageID #: 11836
As such, rather than play along and respond in kind, these defendants rely on their prior summary

judgment pleadings for their reply.

          Also, despite these defendants having already clearly explained that Local Rule 5.01(c) does

not allow a “Counterstatement of Undisputed Facts,” and that filing such was a violation of

summary judgment procedure, 1 the plaintiffs' second response also contains an “Amended Counter-

Statement of Undisputed Material Facts.” (Doc. No. 388-2). These defendants object to that

counterstatement of undisputed facts on the same grounds that they objected to the prior one. See

PSI Defendants’ Response to Plaintiffs’ Counterstatement of Undisputed Facts, Doc. No. 344, p. 1.

Based on this objection, these defendants will not respond to the plaintiffs' made up pleading unless

the Court orders them to do so.

          Along with this pleading, the plaintiffs filed 31 new exhibits, bringing the total of their

exhibits in response to 127. Except for their exhibits 98, 115, and 127 (Doc. Nos. 388-6, 388-23,

and 388-35), these new exhibits are all emails that have absolutely nothing at all to do with Lucinda

Brandon and Tanya Mitchell. The plaintiffs have again filed a statement of “undisputed” “facts”

simply as an excuse to file every email they fished up in discovery that could potentially make the

PSI Defendants look bad, especially when taken out of context or misrepresented, despite having

nothing to do with Tanya Mitchell or Lucinda Brandon.

          If this Court only takes away one thing from reading this reply, let it be this: the PSI

Defendants’ motion only concerns the individual cases of Lucinda Brandon and Tanya Mitchell. It

has nothing to do with any other probationer anywhere. Purported proof that the PSI Defendants

took some action against a different person that might support a claim is not proof that there are

disputed facts that would prevent summary judgment on Lucinda Brandon and Tanya Mitchell’s


1 Local Rule §56.01(c) only allows a nonmoving party to file a statement of disputed facts in response to a motion for summary

judgment. The purpose of this rule is to streamline the factual issues for the Court. The plaintiffs’ knowing violation of this rule
serves the exact opposite purpose. It is just an excuse to file more exhibits, irrelevant as they are.



     Case 1:18-cv-00033 Document 392 Filed 08/03/20 Page 2 of 4 PageID #: 11837
individual claims. The PSI Defendants’ motion for summary judgment must be granted because the

undisputed facts of Lucinda Brandon’s case and Tanya Mitchell’s case demonstrate that PSI is

entitled to summary judgment on the claims brought by Lucinda Brandon and Tanya Mitchell.

       No additional discovery is going to change the fact that Tanya Mitchell was treated with

respect and kindness, her fees were waived because she is poor, and that her case was dismissed on

the first violation despite the fact that she had not paid supervision fees or court costs. No

additional discovery is going to change the fact that Lucinda Brandon pled guilty to her first

probation violation, or the fact that she only had two extremely limited encounters with PSI after the

relevant date for application of the §1983 statute of the limitations, and at that time, she had already

agreed to a court ordered protocol to end her probation that PSI followed.


                                                      Respectfully Submitted,

                                                      /s/ Brandt M. McMillan         ______
                                                      Brandt M. McMillan (BPR No. 025565)
                                                      Timothy N. O’Connor (BPR No.035276)
                                                      Tune, Entrekin, & White, P.C.
                                                      315 Deaderick St., Ste. 1700
                                                      Nashville, TN 37238-1700
                                                      p: (615) 244-2770 | f: (615) 244-2778
                                                      bmcmillan@tewlawfirm.com

                                         Certificate of Service
       The undersigned served this document via CM/ECF on:
 Chirag Badlani                                    Kate E. Schwartz
 Hughes, Socol, Piers, Resnick & Dym, Ltd.         Hughes, Socol, Piers, Resnick & Dym, Ltd.
 70 W. Madison Street, Suite 4000                  70 W Madison Street, Suite 4000
 Chicago, IL 60602                                 Chicago, IL 60602
 (312) 580-0100                                    (312) 580-0100
 Fax: (312) 580-1994                               Fax: (312) 580-1994
 cbadlani@hsplegal.com                             kschwartz@hsplegal.com


 Elizabeth Anne Rossi                              Kyle F. Mothershead
 Civil Rights Corps                                The Law Office of Kyle Mothershead
 910 17th Street NW, Suite 500                     414 Union Street, Suite 900
 Washington, DC 20006                              Nashville, TN 37219


   Case 1:18-cv-00033 Document 392 Filed 08/03/20 Page 3 of 4 PageID #: 11838
(202) 599-0953                            (615) 982-8002
Fax: (202) 609-8030                       kyle@mothersheadlaw.com
elizabeth@civilrightscorps.org

Eric Halperin                             Matthew J. Piers
Civil Rights Corps                        Hughes, Socol, Piers, Resnick & Dym, Ltd.
910 17th Street NW, Suite 500             70 W Madison Street, Suite 4000
Washington, DC 20006                      Chicago, IL 60602
(202) 599-0953                            (312) 580-0100
Fax: (202) 609-8030                       Fax: (312) 580-1994
eric@civilrightscorps.org                 mpiers@hsplegal.com

Jonas Wang                                David W. Garrison
Civil Rights Corps                        Barrett Johnston Martin & Garrison, LLC
910 17th Street NW, Suite 500             Bank of America Plaza
Washington, DC 20006                      414 Union Street
(202) 599-0953                            Suite 900
Fax: (202) 609-8030                       Nashville, TN 37219
jonas@civilrightscorps.org                (615) 244-2202
                                          Fax: (615) 252-3798
                                          dgarrison@barrettjohnston.com

Scott P. Tift                             Daniel H. Rader , IV
Barrett Johnston Martin & Garrison, LLC   Moore, Rader, Clift & Fitzpatrick, P.C.
Bank of America Plaza                     P O Box 3347
414 Union Street                          Cookeville, TN 38502
Suite 900                                 (931) 526-3311
Nashville, TN 37219                       Fax: (931) 526-3092
(615) 244-2202                            danny@moorerader.com
Fax: (615) 252-3798
stift@barrettjohnston.com

Robyn Beale Williams                      John Christopher Williams
Cassandra M. Crane                        Williams Law and Mediation Group
Farrar & Bates                            101 S 1st Street
211 Seventh Avenue, North                 Pulaski, TN 38478
Suite 500                                 (931) 363-6500
Nashville, TN 37219                       Fax: (931) 363-8904
(615) 254-3060                            cwilliams@newsouthlaw.com
Fax: (615) 254-9835
robyn.williams@farrar-bates.com
casey.crane@farrar-bates.com



                                            /s/ Brandt M. McMillan__
                                            Brandt M. McMillan




  Case 1:18-cv-00033 Document 392 Filed 08/03/20 Page 4 of 4 PageID #: 11839
